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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:99-cr-00015-MP-AK

TERRY GLASSCOCK,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 980, Report and Recommendation of the

Magistrate Judge, recommending that Defendant Glasscock’s motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255, Doc. 831, be denied. The Magistrate Judge filed

the Report and Recommendation on Wednesday, June 7, 2006. The parties have been furnished

a copy of the Report and Recommendation and have been afforded an opportunity to file

objections. Pursuant to Title 28, United States Code, Section 636(b)(1), this Court must make a

de novo review of those portions to which an objection has been made. In this instance,

however, no objections were made. Therefore, having considered the Report and

Recommendation and lack of objections thereto filed, I have determined that the Report and

Recommendation should be ADOPTED. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.     The Magistrate Judge's Report and Recommendation is adopted and incorporated
              by reference in this order.

       2.     Defendant Glasscock’s motion to vacate, set aside, or correct sentence pursuant to
              28 U.S.C. § 2255, Doc. 831, is denied.
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        DONE AND ORDERED this         13th day of July, 2006


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




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